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                              UNITED STATES DISTRICT COURT                            United States District Court
                                                                                        Southern District of Texas
                               SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION                                        ENTERED
                                                                                          March 29, 2019
                        CIVIL ACTION NUMBER                  7:19−cv−00102         David J. Bradley, Clerk
           Eugenio Galindo, MD         vs                         Texas Medical Board, et al.

                                ORDER FOR CONFERENCE
                                          AND
                           DISCLOSURE OF INTERESTED PARTIES

1. Counsel shall appear for an initial pretrial and scheduling conference before
                             HONORABLE RICARDO H. HINOJOSA
                              on Wednesday, June 5,2019 at 02:30 AM
                                       at U.S. DISTRICT COURT
                                   BENTSEN TOWER, 11th FLOOR
                                       1701 WEST BUS. HWY. 83
                                       MCALLEN, TEXAS 78501

2. Counsel shall file with the clerk within fifteen days from receipt of this order a certificate listing
   all persons, associations of persons, firms, partnerships, corporations, affiliates, parent
   corporations, or other entities that are financially interested in the outcome of this litigation. If a
   group can be specified by a general description, individual listing is not necessary. Underline the
   name of each corporation whose securities are publicly traded. If new parties are added or if
   additional persons or entities that are financially interested in the outcome of the litigation are
   identified at any time during the pendency of this litigation, then each counsel shall promptly file
   an amended certificate with the clerk.

3. Fed. R. Civ. P. 4(m) requires defendant(s) to be served within 90 days after the filing of the
   complaint. The failure of plaintiff(s) to file proof of service within 90 days after the filing of the
   complaint may result in dismissal of this action by the court on its own initiative.

4. After the parties meet as required by Fed. R. Civ. P. 26(f), counsel shall prepare and file not less
   than 10 days before the conference a joint report of meeting and joint discovery/case
   management plan containing the information required on the attached form.

5. The court will enter a scheduling order and may rule on any pending motions at the conference.

6. Counsel who file(s) or remove(s) an action is responsible for providing the other parties with a
   copy of this order and in addition must serve a copy of this order with the summons and
   complaint or with the notice of removal.

7. Attendance by an attorney who has authority to bind the party is required at the conference.

8. Counsel shall discuss with their clients and each other whether alternative dispute resolution is
   appropriate and at the conference shall advise the court of the results of their discussions.

9. A person litigating pro se is bound by the requirements imposed upon counsel in this Order.

10. Failure to comply with this order may result in sanctions, including dismissal of the action and
    assessment of fees and costs.

                                                                            By Order of the Court
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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

                                 , Plaintiff(s)      §
                                                     §       CIVIL ACTION NO.
                                 , Defendant(s)      §

                       JOINT DISCOVERY/CASE MANAGEMENT PLAN
                                   UNDER RULE 26(f)
                          FEDERAL RULES OF CIVIL PROCEDURE
                   Please restate the instruction before furnishing the information.
1. State where and when the meeting of the parties required by Rule 26(f) was held, and identify the
   counsel who attended for each party.

2. List the cases related to this one that are pending in any state or federal court with the case
   number and court.

3. Briefly describe what this case is about.

4. Specify the allegation of federal jurisdiction.

5. Name the parties who disagree and the reasons.

6. List anticipated additional parties that should be included, when they can be added, and by whom
   they are wanted.

7. List anticipated interventions.

8. Describe class−action issues.

9. State whether each party represents that it has made the initial disclosures required by Rule 26(a).
   If not, describe the arrangements that have been made to complete the disclosures.

10. Describe the proposed agreed discovery plan, including:

   A. Responses to all the matters raised in Rule 26(f).
   B. When and to whom the plaintiff anticipates it may send interrogatories.
   C. When and to whom the defendant anticipates it may send interrogatories.
   D. Of Whom and by when the plaintiff anticipates taking oral depositions.
   E. Of Whom and by when the defendant anticipates taking oral depositions.
   F. When the plaintiff (or the party with the burden of proof on an issue) will be able to designate
      experts and provide the reports required by Rule 26(a)(2)(B), and when the opposing party
      will be able to designate responsive experts and provide their reports.
   G. List expert depositions the plaintiff (or the party with the burden of proof on an issue)
      anticipates taking and their anticipated completion date. See Rule 26(a)(2)(B) (expert report).
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   H. List expert depositions the opposing party anticipates taking and their anticipated completion
      date. See Rule26(a)(2)(B) (export report).

11. If the parties are not agreed on a part of the discovery plan, describe the separate views and
    proposals of each party.

12. Specify the discovery beyond initial disclosures that has been undertaken to date.

13. State the date the planned discovery can reasonably be completed.

14. Describe the possibilities for a prompt settlement or resolution of the case that were discussed in
    your Rule 26(f) meeting.

15. Describe what each party has done or agreed to do to bring about a prompt resolution.

16. From the attorneys' discussion with the client, state the alternative dispute resolution techniques
    that are reasonably suitable, and state when such a technique may be effectively used in this case.

17. Magistrate judges may now hear jury and non−jury trials. Indicate the parties' joint position on a
    trial before a magistrate judge.

18. State whether a jury demand has been made and if it was made on time.

19. Specify the number of hours it will take to present the evidence in this case.

20. List pending motions that could be ruled on at the initial pretrial and scheduling conference.

21. List other motions pending.

22. Indicate other matters peculiar to this case, including discovery, that deserve the special attention
    of the court at the conference.

23. Certify that all parties have filed Disclosure of Interested Parties as directed in the Order for
    Conference and Disclosure of Interested Parties, listing the date of filing for original and any
    amendments.

24. List the names, bar numbers, addresses, and telephone numbers of all counsel.




Counsel for Plaintiff(s)                                        Date



Counsel for Defendant(s)                                        Date
